          Case 1:20-cv-01284-LJL Document 12 Filed 05/21/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MIGUEL RIVERA,

                      Plaintiff,                       No. 1:20-cv-01284

                      v.                               Hon. Lewis J. Liman

NAVIENT SOLUTIONS, LLC,                                  CASE MANAGEMENT PLAN AND
                                                             SCHEDULING ORDER
                      Defendant.


LEWIS J. LIMAN, United States District Judge:

       This Civil Case Management Plan and Scheduling Order is submitted by the parties in
accordance with Federal Rule of Civil Procedure 26(f)(3):

1.     The parties do not consent to conducting all further proceedings before a Magistrate Judge,
       including motions and trial, pursuant to 28 U.S.C. § 636(c). The parties are free to withhold
       consent without adverse substantive consequences.

2.     The parties have conferred pursuant to Federal Rule of Civil Procedure 26(f).

3.     The parties have engaged in settlement discussions.

4.     Any motion to amend or to join additional parties shall be filed no later than 30 days after
       entry of the Court’s Order concerning Defendant’s Motion to Dismiss filed on April 28,
       2020 [ECF No. 9] (the “Motion to Dismiss”).

5.     Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure shall
       be served no later than 14 days after entry of the Court’s Order concerning the Motion to
       Dismiss.

6.     All fact discovery shall be completed within 120 days after entry of the Court’s Order
       concerning the Motion to Dismiss.

7.     The parties are to conduct discovery in accordance with the Federal Rules of Civil
       Procedure and the Local Rules of the Southern District of New York. The following interim
       deadlines may be extended by the parties on consent without application to the Court,
       provided that the parties meet the deadline for completing fact discovery set forth in
       Paragraph 6 above.

                   NOTE ON COVID-19 EMERGENCY PROCEDURES:
 Until further notice, and pursuant to Fed. R. Civ. P. 30(b)(3) and (b)(4), all depositions may be
   taken via telephone, videoconference, or other remote means, and may be recorded by any
 reliable audio or audiovisual means. This does not dispense with the requirements set forth in
          Case 1:20-cv-01284-LJL Document 12 Filed 05/21/20 Page 2 of 3




Fed. R. Civ. P. 30(b)(5), including the requirement that, unless the parties stipulate otherwise, the
 deposition be “conducted before an officer appointed or designated under Rule 28,” and that the
   deponent be placed under oath by that officer. For avoidance of doubt, a deposition will be
deemed to have been conducted “before” an officer so long as that officer attends the deposition
via the same remote means (e.g., telephone conference call or video conference) used to connect
  all other remote participants, and so long as all participants (including the officer) can clearly
                            hear and be heard by all other participants.

    Nothing in the above-mentioned rule prevents parties from seeking to modify any pretrial
schedule in light of the COVID-19 pandemic (or for any other good cause). Prior to seeking such
relief, the parties must, as always, attempt to meet and confer (via remote means) in a good faith
                                      effort to reach agreement.

Parties are instructed to consult the Court’s COVID-19 Emergency Individual Practices in
  Civil and Criminal Cases for additional guidance on procedures in place at this time.

       a. Initial requests for production of documents shall be served within 30 days after entry
          of the Court’s Order concerning the Motion to Dismiss.

       b. Interrogatories pursuant to Rule 33.3(a) of the Local Rules of the Southern District of
          New York shall be served within 30 days after entry of the Court’s Order concerning
          the Motion to Dismiss. No Rule 33.3(a) interrogatories need to be served with respect
          to disclosures automatically required by Federal Rule of Civil Procedure 26(a).

       c. Unless otherwise ordered by the Court, contention interrogatories should be served
          consistent with Rule 33.3(c) of the Local Rules of the Southern District of New York.

       d. Depositions shall be completed within 120 days after entry of the Court’s Order
          concerning the Motion to Dismiss.

       e. Requests to Admit shall be served no later than 60 days after entry of the Court’s Order
          concerning the Motion to Dismiss.

8.     All expert discovery, including disclosures, reports, production of underlying documents,
       and deposition shall be completed within 165 days after entry of the Court’s Order
       concerning the Motion to Dismiss.

9.     All discovery shall be completed no later than 165 days after entry of the Court’s Order
       concerning the Motion to Dismiss.

10.    The proposed joint pretrial order shall be submitted on ECF in accordance with the Court’s
       Individual Practices in Civil Cases and Federal Rule of Civil Procedure 26(a)(3) no later
       than ____________________.

11.    A post-discovery status conference shall be held on: ____________ at ____________.



                                               - 2 -
          Case 1:20-cv-01284-LJL Document 12 Filed 05/21/20 Page 3 of 3




12.    Any motion for summary judgment must be filed no later than 179 days after entry of the
       Court’s Order concerning the Motion to Dismiss.

13.    This case is to be tried to a jury.

14.    The parties have conferred and their present best estimate of the length of trial is between
       one and three days.

15.    Counsel for the parties proposed the following alternative dispute resolution mechanism
       for this case:

           a.    X      Referral to a Magistrate Judge for settlement discussions.
           b.          Referral to the Southern District’s Mediation Program.
           c.          Retention of a private mediator.

The use of any alternative dispute resolution mechanism does not stay or modify any date in this
Order

16.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Federal Ruel of Civil Procedure 26(f)(3) are set forth below.
       None at this time, though the Parties may address additional issues, if necessary, depending
       on the Court’s decision on the Motion to dismiss. If the case proceeds into discovery, the
       Parties anticipate that they will agree to a form of confidentiality order, which they will
       submit for the Court’s consideration.

Counsel for the Parties:

 __/s/_________________                              /s/ Lijue T. Philip, LP0326
 Johnson M. Tyler                                  Eric M. Hurwitz
 BROOKLYN LEGAL SERVICES                           Lijue T. Philip
 105 Court Street                                  STRADLEY RONON STEVENS & YOUNG, LLP
 Brooklyn, NY 11201                                A LIMITED LIABILITY LAW PARTNERSHIP LLP
 T: (718) 237-5548                                 100 Park Avenue, Suite 2000
 E: jtyler@lsnyc.org                               New York, NY 10017
                                                   T: (212) 812-4124
 Attorney for Plaintiff, Miguel Rivera
                                                   E:ehurwitz@stradley.com;
                                                      lphilip@stradley.com
                                                   Attorneys for Defendant, Navient Solutions,
                                                   LLC

DATED:
          New York, New York


                                                       THE HONORABLE LEWIS J. LIMAN
                                                       UNITED STATES DISTRICT JUDGE


                                               - 3 -
